                       IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF KANSAS
                                         Topeka


In re:                                                      )
                                                            )
JENNIFER KATHLEEN NWOKE                                     ) Case No. 19-40683
                                            Debtor,         ) Chapter 7
                                                            )
                                                            )
USAA FEDERAL SAVINGS BANK                                   )
                                                            )
                                            Creditor.       )
                                                            )

                       MOTION FOR RELIEF FROM AUTOMATIC STAY

         COMES NOW USAA Federal Savings Bank, its subsidiaries, affiliates, predecessors in

interest, successors, and assigns (“Creditor”), by and through its attorneys Steven M. Leigh, Pamela

R. Putnam, and the law firm of Martin Leigh PC, and for its Motion for Relief From Automatic Stay

states as follows:

         1.    On or about March 29, 2018, Jennifer Nwoke (“Debtor”) and Chibuzor Nwoke

executed and delivered to USAA Federal Savings Bank a Note in the original principal amount of

$190,000.00. A true and correct copy of the Note is attached hereto as Exhibit “A” and incorporated

herein by this reference.

         2.    The Note is secured by a properly recorded Mortgage dated March 29, 2018. The

Mortgage was executed and delivered by Debtor and Chibuzor Nwoke to Mortgage Electronic

Registration Systems, Inc., solely as nominee for USAA Federal Savings Bank securing the

following real Property:

               LOT 2, BLOCK 4, MILES HIDDEN LAKES ESTATES, SEDGWICK COUNTY,
               KANSAS.




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       The above-described property is also known as 560 Westshore Dr, Wichita, KS 67209

(“Property”). A true and correct copy of the Mortgage is attached hereto as Exhibit “B” and

incorporated herein by this reference.

       3.      Creditor is now the holder of the Note and Mortgage. A true and correct copy of

the Assignment of Mortgage is attached hereto as Exhibit “C” and incorporated herein by this

reference.

       4.      Debtor filed for protection under Chapter 7 of the United States Bankruptcy Code

on June 7, 2019.

       5.      Per Debtor's Chapter 7 Statement of Intention, Debtor intends to surrender the

Property.

       6.      The principal balance of the Note is $185,915.77. The approximate payoff as of

June 12, 2019 is $199,288.52.

       7.      Per Debtor’s schedules, the value of the Property is $185,000.00. There is little or

no equity in the Property and the Property is not necessary for reorganization 11 U.S.C.

§362(d)(2).

       8.      Cause exists for the granting of relief from the automatic stay as debtor has not

offered creditor adequate protection of its interest in the Property. 11 U.S.C. §362(d)(1).

       9.      Creditor is aware of the following other persons or entities that may claim an

interest in the Property: Chibuzor Nwoke, Co-Borrower

       10.     To the extent that the Trustee intends to sell the Property, Creditor requests that it

be provided adequate protection of its interest in the Property.

       WHEREFORE, for the foregoing reasons, Creditor respectfully requests that this Court

enter an Order granting relief from the automatic stay to enable Creditor to exercise any and all


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rights provided under non-bankruptcy law and as set forth in the Note and Mortgage granting it

an interest in said property, that upon entry of an order granting relief that the property be

deemed abandoned as an asset of the bankruptcy estate, and for such other and further relief as is

just and appropriate under the circumstances.



                                         Respectfully submitted,

                                          MARTIN LEIGH PC


                                          /s/ Pamela R. Putnam
                                          Pamela R. Putnam #22894 prp@martinleigh.com
                                          Steven M. Leigh #70393 sml@martinleigh.com
                                          Martin Leigh PC
                                          2405 Grand Blvd., Suite 410
                                          Kansas City, MO 64108
                                          Phone: (816) 221-1430
                                          Fax: (816) 221-1044
                                          ATTORNEYS FOR CREDITOR




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                                 CERTIFICATE OF SERVICE

        The undersigned does hereby certify that on this 24th day of June, 2019, a true and
correct copy of the above and forgoing was filed electronically via ECF and noticed to the
following:

A. Mark Stremel
529A Humbolt
Manhattan, KS 66502

Robert L. Baer
Chapter 7 Trustee
112 SW 6th Ave Ste 408
Topeka, KS 66603

Office of the U.S. Trustee
301 N. Main Street, Suite 1150
Wichita, KS 67202

And deposited in the United States Mail, postage prepaid, addressed to the following:

Jennifer Kathleen Nwoke
2209 Prairie Glen Place
Manhattan, KS 66502



                                                    /s/ Pamela R. Putnam
                                                    Attorney for Creditor




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